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EXHIBIT A
NJDHS ANARCHIST EXTREMISTS TERRORISM SNAPSHOTS
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                                                                                 Anarchist Extremists
                                Background                                            Threat to New Jersey: Moderate
                                                                                                                                                                                                   Antifa
  • Anarchism is the belief that society should exist absent of “oppressive”     Anarchist extremists will mobilize in response to issues they believe               Antifa, or anti-fascists, is a movement that focuses on issues involving
    governments, laws, police, or any other authority. Anarchist extremists      are unjust, carry out criminal and violent acts during otherwise First              racism, sexism, and anti-Semitism, as well as other perceived injustices.
    advocate violence in furtherance of this idea, typically focusing on sub-    Amendment-protected events and protests, and target perceived enemies.              The majority of Antifa members do not promote or endorse violence;
    movements such as anti-racism, anti-capitalism, anti-globalism, and          Throughout 2018, anarchist extremists were actively engaged in criminal             however, the movement consists of anarchist extremists and other
    environmental extremism.                                                     activities in the tri-state region, resulting in at least 20 arrests.               individuals who seek to carry out acts of violence in order to forward
                                                                                                                                                                     their respective agendas.
  • Anarchist extremists, or those subscribing to the ideology that condones       • In November, several hundred people, including a number of anarchist
    violence and the use of force, do not have a central leadership and lack         extremists, mobilized at the “We the People” rally in Philadelphia, which
    organizational hierarchy. These extremists are event-driven and often take       they perceived as a white supremacist event. That same month, an Antifa-
    advantage of otherwise legal protests to conduct violent counter-protests,       related group, Smash Racism DC, vandalized and protested outside the                               Anarchist extremists use the circle-A as one of their
    destroy public and private property, and attack law enforcement.                 home of the founder of the Daily Caller, stating that he was “promoting                            primary symbols. “A” represents “anarchism,” while
                                                                                     hate” and “an ideology that has led to thousands of people dying.”                                 “O” stands for “order.” Together, the letters mean
  • Common attack targets, chosen for their symbols of capitalism and                                                                                                                   “society seeks order in anarchy,” which stems from
    government, include commercial infrastructure and the financial sector.        • Following the “We the People” rally in Philadelphia in November, a                                 19th century French literature.
    Vandalism and arson are the most common attack types.                            group of individuals, including anarchist extremists, Maced, punched,
                                                                                     and kicked US Marine Corps reservists not affiliated with the event while
  • A majority of New Jersey-based anarchist extremists are affiliated with          calling them “Nazis” and “white supremacists.” In October, anarchist
                                                                                                                                                                                        The red flag was one of the first anarchist symbols,
    Antifa and focus on issues of racism, immigration, and other perceived           extremists protested outside a Proud Boys event in New York City
                                                                                                                                                                                        used until the 1917 October Revolution in Russia
    social injustices. There are three loosely organized chapters in New             and engaged in acts of vandalism. After the event, one of the anarchist
                                                                                                                                                                                        when it became primarily associated with communist
    Jersey, known as North Jersey Antifa, South Jersey Antifa, and HubCity           extremists threw a bottle at the Proud Boys, resulting in a fight.
                                                                                                                                                                                        ideologies.
    Antifa based in New Brunswick (Middlesex County).
                                                                                   • In June, a Nebraska-based anarchist extremist group tweeted a link to the
                                                                                     names and photos of nearly 1,600 Immigration and Customs Enforcement
                                                                                     (ICE) officials. Following the release, another individual disseminated the
                                                                                     names, pictures, and home addresses of seven ICE employees and their                               Since the late 19th century, anarchist groups have
                                                                                     spouses in Oregon, stating, “It’s the public’s right to know the faces of the                      used the black flag as a rejection of the concept of
                                                                                                                                                                                        representation or the idea that an institution can
                                                                                     gestapo and who is creating, enforcing, and filling concentration camps in
                                                                                                                                                                                        adequately represent a group of individuals.
                                                                                     our name.”
                                                                                                                                                                                                                                                 Case 2:20-cv-12880-JMV-JSA Document 121-1 Filed 01/21/22 Page 2 of 2 PageID: 4332




                                                                                                                                                                                        Antifa consists of individuals who adhere to some
        Anarchist extremist propaganda       Anarchist extremist slogans found
        targeting the alt-right movement      in Princeton (Mercer County)                                                                                                              form of the far-left school of thought, encompassing
                                                        in January                                                                                                                      communists, anarchists, socialist groups, and others.
                                                                                                                                                                                        Red and black flags flying together represents coming
                   Additional Resources                                                                                                                                                 together against a perceived enemy.
                                                                                              Thomas Keenan, Thomas Massey, and Joseph Alcoff (pictured from
                        2019 Terrorism Threat Assessment                                       left), anarchist extremists charged with attacking military service
                                                                                                             members in Philadelphia in November

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